     Case 18-12701-VFP            Doc 54       Filed 02/16/21 Entered 02/16/21 14:58:01                      Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 18−12701−VFP
                                          Chapter: 13
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Shalina J Robinson
   aka Shalina Joy Robinson
   560 Parker St.
   Newark, NJ 07104
Social Security No.:
   xxx−xx−6014
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Marie−Ann Greenberg is discharged as trustee of the estate of the above named debtor(s) and
the bond is canceled; and the case of the above named debtor(s) is closed.


Dated: February 16, 2021                          Vincent F. Papalia
                                                  Judge, United States Bankruptcy Court
